 Case
Case   1:07-cv-03629-ILG-CLP Document
     1:07-cv-03629-ILG-SMG     Document
                                      496673-1   Filed 10/25/23
                                           Filed 04/22/15  Page 1Page  1 of 1 PageID
                                                                 of 1 PageID   #: 18039
                                     #: 20607
                              CIVIL MINUTE ENTRY

   BEFORE:                          Chief Magistrate Judge Steven M. Gold


   DATE:                            April 21, 2015


   TIME:                            4:30 P.M.


   DOCKET NUMBER(S):                CV-07-3629 (ILG)


   NAME OF CASE(S):                 GORTAT ET AL V. CAPALA BROTHERS, INC. ET AL


   FOR PLAINTIFF(S):                Wisniewski


   FOR DEFENDANT(S):                Bieber


   NEXT CONFERENCE(S):              (See rulings below)


   RULINGS FROM TELEPHONE CONFERENCE:

   Walderman for various non-parties, Birnbach for 269 Withers Street and Silivac. Pawal and Robert Capala
   participated as well.

   (1) Mr. Bieber 's motion to be relieved is granted without objection. Pawal and Robert Capala are advised that a
   corporation must appear through counsel or be held in default and are urged to retain new counsel promptly. Pawal
   and Robert Capala are also directed to retain and, if possible, make back-up copies of the electronic records
   discussed today, including their Quickbooks files.

   (2) Plaintiffs will serve a form motion for sanctions by May 22, assuming the violations of the Court's discovery
   orders described in the letter they filed today are not promptly remedied. Any party or non-party objecting to the
   relief sought in plaintiffs' motion may submit opposition by June 5, and plaintiffs may submit a reply by June 19.

   (3) Plaintiffs will promptly seek an adjournment of any proceedings scheduled before United States District Judge
   Glasser.

   (4) Plaintiffs will promptly serve a copy of this Order on plaintiffs Pawal and Robert Capala and file proof of service
   with the Court.

   (FTR 5:12-5:30)
